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18

19                                UNITED STATES DISTRICT COURT

20                               NORTHERN DISTRICT OF CALIFORNIA

21                                     SAN FRANCISCO DIVISION

22
                                                     Case No. 3:22-cv-03580-WHO
23   IN RE META PIXEL HEALTHCARE
     LITIGATION                                      CASE MANAGEMENT STATEMENT
24
     ______________________________________          Date: March 14, 2023
25                                                   Time: 2:00 p.m.
     This Document Relates To:                       Courtroom: 2, 17th Floor
26
     All Actions                                     Judge: Hon. William H. Orrick
27

28


                                     CASE MANAGEMENT STATEMENT
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1           Plaintiffs and Defendant Meta Platforms, Inc. (“Meta”), by and through their respective counsel
2    of record, hereby submit the following Joint Case Management Statement pursuant to Civil Local Rule
3    16-10 in advance of the Case Management Conference scheduled in the above-captioned case for
4    March 14, 2023 at 2:00 P.M. before the Honorable William H. Orrick, in Courtroom 2, San Francisco
5    Courthouse, 450 Golden Gate Avenue, San Francisco, California, 94102.
6       1. UPDATE ON CASE STATUS
7    Plaintiffs’ Portion:
8           This action was first filed in June 2022. Following 23(g) briefing, the Court appointed
9    leadership on December 21, 2022.
10          At the January 17 CMC, the Court “express[ed] its desire that this case move to resolution,
11   one way or the other, with dispatch.” Dkt. No. 173. The Court ordered:
12         “Prior to the next CMC, the parties should engage on the case calendar and propose a joint or
13          competing schedules.”
14         “The parties should finish negotiating the ESI protocol, protective and clawback orders by
15          February 21, 2023. Any disputes may be presented at the next CMC.”
16         “The parties should begin negotiating custodians, search terms, and other prerequisites for
17          discovery now.”
18          On February 9, Plaintiffs served their First Set of RFPs and Interrogatories (the responses to
19   which are due March 13), and on February 21, Plaintiffs filed their Consolidated Amended Complaint.
20          Pursuant to the Court’s directive at the prior CMC, and after several meet and confers with
21   Meta, Plaintiffs now propose to the Court an ESI Protocol, Protective Order, Clawback Order, and
22   case schedule for consideration.
23          As the Court rightfully noted at the prior CMC, it is imperative that this case move forward
24   “with dispatch.” The next, necessary step to that end is entry of an ESI Protocol, Protective Order, and
25   Case Schedule. As explained below, with regard to the ESI protocol, the parties require the Court’s
26   guidance with regard to a handful of remaining, but important issues. Chief of among these is the
27   requirement to preserve potentially relevant documents. Meta seeks permission, via the ESI protocol,
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1    to unilaterally destroy entire categories of documents, such as “server, system, or network logs” without
2    consulting with the Plaintiffs or providing any explanation. This issue, as well as the handful of
3    remaining outstanding issues, deserve the Court’s attention. Similarly, with regard to the Protective
4    Order, the parties have narrowed the dispute to a handful of issues.
5           Finally, with regard to the proposed Case Schedule, the difference between the parties’
6    proposals concerns only two main issues. First, Plaintiffs believe that the schedule should include
7    interim deadlines to select search terms and custodians, and a deadline to substantially complete the
8    initial production of documents. Meta will not agree to this proposal and to date, it has not proposed
9    any search terms or custodians (despite repeated requests from Plaintiffs). Nothing focuses the mind
10   like Court imposed deadlines, and Plaintiffs respectfully submit that clear deadlines are necessary to
11   move this case forward. Second, Plaintiffs believe that the schedule should provide for one round of
12   expert disclosures, while Meta seeks two rounds. As explained below, there is no need for two rounds
13   of expert disclosures, which will only cause delay and impose more costs on the parties. Accordingly,
14   and as explained more fully below, Plaintiffs respectfully request that the Court enter Plaintiffs’
15   proposed ESI Protocol, Protective Order, Clawback Order, and Case Schedule. These foundational
16   documents are necessary to move forward, and there is no need for further delay.
17   Meta’s Position:
18          The parties previously submitted joint Rule 26(f) reports on September 28, 2022 (prior to
19   consolidation of the cases under In re Meta Pixel Healthcare Litigation), and the Court subsequently
20   held a case management conference on October 5, 2022. ECF Nos. 66, 68. On December 21, 2022,
21   the Court appointed Interim Lead Counsel in the consolidated action. ECF No. 158. The parties filed
22   another joint case management statement on January 10, 2023, and the Court subsequently held a case
23   management conference on January 17, 2023. ECF Nos. 167, 173.
24          Following the January 17, 2023 Conference, the parties have met and conferred seven times,
25   on February 17, 22, 23, and 28, 2023 and March 1, 2, and 6, 2023, to discuss, inter alia, the issues
26   raised in this Joint Case Management Statement. Pursuant to the Court’s January 17, 2023 minute
27   order, the parties submit this case management statement to update the Court on developments in the
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1    case, including disputes that have arisen during the parties’ negotiation of the ESI protocol, protective
2    order, and clawback order, and each party’s proposed case schedule. ECF No. 173.
3           Although Meta believes that many of the remaining issues can be resolved among the parties,
4    Meta agrees with Plaintiffs that the parties would benefit from this Court’s guidance on a few key
5    issues in dispute. In particular, fundamental disagreements concerning what is proportional discovery
6    have led the parties to a standstill. Meta, for example, should not be required to freeze all potentially
7    relevant sources—including backup tapes and systems no longer in use—unless and until it seeks a
8    court order. It is Meta’s position that Plaintiffs’ emphasis on speed overlooks the ability of the parties
9    to find common ground, as they have done, through the meet and confer process.
10          Meta’s position is that, following the Court addressing the issues raised in this statement, the
11   parties should utilize the Court’s guidance to reach an agreement on the remaining issues. However,
12   given that Plaintiffs have indicated that they want the court to enter and ESI Protocol, Protective Order,
13   Clawback Order, and case schedule today, Meta respectfully requests that the Court enter Meta’s
14   proposed ESI Protocol, Protective Order, 502(d) Clawback Order, and proposed schedule.
15      2. SCHEDULE
16   Plaintiffs’ Statement:
17            This is Plaintiffs’ second request for the Court to enter a schedule. In early January, Plaintiffs
18    attempted to engage Meta regarding a case schedule. However, Meta refused to negotiate. Thus, in
19    the parties’ January 10 case management conference statement, Plaintiffs proposed a schedule, and
20    Meta asked for further negotiations. Dkt. No. 167 at 11-12.
21            At the January 17 case management conference, the Court declined to enter a schedule, but
22    ordered that, “Prior to the next CMC, the parties should engage on the case calendar and propose a
23    joint or competing schedules.” ECF No. 173.
24            The parties have met-and-conferred and reached agreement on some scheduled dates,
25    including the close of fact discovery on March 13, 2024 (1 year from the upcoming case
26    management conference).
27

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1
            The parties have reached impasse on the schedule. Below, Meta asks the Court for
2
     “guidance” so that the parties can negotiate, yet again, about the schedule. Plaintiffs respectfully
3
     request that the Court enter Plaintiffs’ schedule. There is no need for further negotiation of the
4
     schedule. The parties only have identified two substantive disputes regarding the schedule, which
5
     the Court can adjudicate.
6
     Dispute No. 1: Plaintiffs Propose Interim Deadline to Ensure that Discovery Moves Forward
7
     in An Expeditious Manner
8
             First, Plaintiffs propose the following intermediate deadlines:
9
                   March 28, 2023 - Deadline for parties to propose initial search terms, custodians,
10
                    and sources of ESI to search their own ESI and to produce organizational charts
11
                   April 18, 2023 - Deadline for parties to reach agreement on initial search,
12
                    custodians, and sources of ESI or submit the issue to the Court
13
                   June 23, 2023 - Substantially complete production from initial custodians and
14
                    search terms
15
            Plaintiffs propose these intermediate deadlines to ensure that discovery moves forward in
16
     an expeditious manner. Plaintiffs’ proposed intermediate deadlines will provide the parties with
17
     the needed time to review documents and conduct depositions, and to also serve follow-up
18
     discovery requests. Without intermediate document discovery deadlines, the parties will likely end
19
     up with an untenably backloaded schedule. A fair, mutual schedule will ensure orderly and
20
     efficient discovery, and will avoid last minute productions in the midst of depositions or on the
21
     eve of the discovery cut-off. This schedule also ensures that the parties will have time to review
22
     the documents from the initial custodians and search terms before selecting any additional
23
     custodians and search terms.
24
     Dispute No. 2: Plaintiffs Propose One Round of Expert Reports Instead of Two Rounds
25
            Plaintiffs propose that the parties have one round of expert reports rather than bifurcating
26
     class and merits expert reports in two rounds. Because the parties have agreed that the fact discovery
27
     should not be bifurcated, it is more efficient to have one round of expert reports. This will move the
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1
     parties more quickly towards trial and resolution. Furthermore, it would be a waste of resources to
2
     have two rounds of expert depositions or two rounds of Daubert briefing.
3
            Meta generally asserts that, “Without a decision on class certification, the parties will be
4
     forced to present expert evidence on issues that may become moot, unnecessarily increasing the
5
     costs and burdens on the parties.” Given the issues in this case, Plaintiffs expect that their experts
6
     would include the same information in their class expert reports as their merit expert reports.
7
     Plaintiffs do not foresee any efficiencies that will be gained through two rounds of expert reports,
8
     and certainly no efficiencies that would outweigh the costs of the parties’ experts producing two
9
     rounds of reports on the same issues, potentially being deposed twice, or potentially being briefing
10
     two Daubert motions.
11
             Thus, Plaintiffs propose the following schedule:
12                                 Event                                           Date
         Deadline for parties to propose initial search terms,
13
         custodians, and sources of ESI to search their own ESI
14       and to produce organizational charts                        Tuesday, March 28, 2023
         Deadline for parties to reach agreement on initial
15       search, custodians, and sources of ESI or submit the
         issue to the Court                                          Tuesday, April 18, 2023
16
         Responsive Pleading Shall Be Filed                          Monday, May 8, 2023
17       Opposition to Motion to Dismiss Shall be Filed              Monday, June 12, 2023
         Substantially Complete Production from Initial
18       Custodians and Search Terms                                 Friday, June, 23, 2023
19       Reply to Motion to Dismiss Shall be Filed                   Monday, July 17, 2023
         Deadline for First Settlement Conference                    Monday, November 13, 2023
20       Close of Fact Discovery                                     Wednesday, March 13, 2024
         Opening Expert Disclosures                                  Friday, May 3, 2024
21
         Rebuttal Expert Disclosures                                 Friday, June 7, 2024
22       Reply Expert Disclosures (response to Rebuttal Expert
         Reports)                                                    Monday, July 8, 2024
23       Expert Discovery Deadline                                   Friday, August 16, 2024
24       Motion for Class Certification Shall be Filed               Friday, September 6, 2024
         Opposition to Class Certification Shall be Filed            Friday, October 11, 2024
25       Reply in Support of Class Certification Shall be Filed      Friday, November 15, 2024
         Dispositive and Daubert Motions Shall be Filed              Friday, February 7, 2025
26
         Opposition to Dispositive and Daubert Motions Shall
27       be Filed                                                    Friday, March 14, 2025

28
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1         Reply to Dispositive and Daubert Motions Shall be
          Filed                                                       Friday, April 18, 2025
2
          Pre-Trial Conference                                        Monday, June 9, 2025
3         Trial                                                       Monday, August 11, 2025

4    Meta’s Statement:

5           As requested by the Court, the parties have engaged on a case schedule.

6           On February 16, 2023, Meta provided Plaintiffs with its counter-proposal to the schedule that

7    Plaintiffs presented to the Court prior to the January 17, 2023 Conference. ECF No. 167 at 11–12. On

8    March 1, 2023, Plaintiffs sent Meta a revised proposal. Notably, Plaintiffs’ most recent proposal

9    moved forward many of the deadlines it previously provided to the Court, which Meta disagrees with.

10   Despite this, it is Meta’s position that the parties can reach agreement on a schedule with guidance

11   from the Court on two gating issues: (1) unnecessary interim discovery deadlines, and (2) the

12   sequencing of class certification briefing.

13          Because the Court requested joint or competing schedules from the parties, Meta also provides

14   its proposed schedule below, with time periods keyed off the sequencing Meta proposes.

15          (1) Interim discovery deadlines are unnecessary

16          The parties have agreed that fact discovery will close on March 13, 2024. The parties have also

17   agreed that briefing on the upcoming motion to dismiss will be completed by July 17, 2023. As per

18   the guidance of the Court, the parties agree that discovery will proceed while the motion to dismiss is

19   pending.

20          Despite this, Plaintiffs seek to impose unnecessary interim discovery deadlines that require

21   “substantial[] complet[ion]” of documents connected to an undefined set of “initial” requests

22   approximately one month prior to the completion of motion to dismiss briefing.

23          Such interim discovery deadlines are neither appropriate nor necessary. Meta continues to meet

24   and confer with Plaintiffs and will have responded and objected to Plaintiffs’ initial sets of

25   interrogatories and requests for production by the date of the Conference. The initial set of sixty-seven

26   requests for production served by Plaintiffs on February 9, 2023, reveals that Plaintiffs envision broad

27   and wide-ranging discovery that will require on-going conversations between the parties—and

28   potentially judicial intervention—to locate, review, and produce responsive information tailored to the
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1    claims and defenses in this litigation. In fact, Plaintiffs’ first proposed interim deadline is 14 days after
2    the upcoming Conference. Plaintiffs’ next proposed interim deadline will bring the parties back to
3    court with discovery disputes roughly one month after the upcoming Conference. Front-loading
4    discovery in this manner will invite unnecessary costs and burdens on the parties and the court to
5    address discovery issues, mutually or through judicial intervention, in a manner prioritizing speed over
6    substance.
7            Meta’s position is that the parties should continue to meet and confer in good faith, and the
8    discovery process will continue to progress in the regular course. Meta believes that this process will
9    provide the parties time to fully address discovery issues before raising them with the court, if
10   necessary.
11           (2) Sequencing Class Certification briefing will promote efficiency
12           Meta proposes that the parties should sequence the case schedule so that class certification
13   briefing, including any associated expert evidence offered in connection with such briefing, occurs
14   prior to expert evidence offered in connection with non-class certification issues. Once class
15   certification briefing is completed and the motion has been decided, Meta proposes that the parties
16   undertake merits expert discovery, followed by briefing on Daubert and dispositive motions.
17           Plaintiffs rejected this proposal. Instead, Plaintiffs propose combining all expert discovery
18   (including experts on class certification and merits issues) after the end of fact discovery and then
19   briefing class certification, followed by Daubert and dispositive motions.
20           Meta believes that its proposed sequencing provides for a more efficient adjudication of the
21   case. Class certification will impact merits issues and specific subjects on which the parties will likely
22   offer expert evidence. Without a decision on class certification, the parties will be forced to present
23   expert evidence on issues that may become moot, unnecessarily increasing the costs and burdens on
24   the parties. Accordingly, Meta believes a schedule in which class certification is addressed first,
25   followed by expert discovery on all other issues, is the most efficient way to proceed.
26           Meta’s Proposed Schedule
27           Meta proposes the following schedule.
28
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1
                              Event                                              Date
2     Responsive Pleading                                    Monday, May 8, 2023
3     Opposition to Motion to Dismiss                        Monday, June 12, 2023
4     Reply to Motion to Dismiss                             Monday, July 17, 2023
      Deadline to Amend Consolidated Amended                 30 days after the Motion to Dismiss is
5
      Complaint                                              decided
6     Deadline for First Settlement Conference               Monday, November 13, 2023
7     Close of Fact Discovery                                Wednesday, March 13, 2024

8     Motion for Class Certification (with all evidence      Friday April 26, 2024
      and expert reports)
9
      Opposition to Motion for Class Certification (with     Friday, July 12, 2024
10    all evidence and expert reports)
      Reply to Motion for Class Certification (with all      Friday, August 16, 2024
11
      evidence and expert reports)
12    Opening Expert Disclosures (merits and non-class) 45 days following the decision on class
                                                        certification
13
      Rebuttal Expert Disclosures (merits and non-class) 45 days following the filing of opening
14                                                       expert disclosures
15    Reply Expert Disclosures (merits and non-class)        30 days following the filing of rebuttal
                                                             expert disclosures
16
      Expert Discovery Deadline                              30 days following the filing of reply
17                                                           expert disclosures

18    Deadline for Dispositive and Daubert Motions           60 days following expert discovery
                                                             deadline
19    Opposition to Dispositive and Daubert Motions          45 days following the filing of opening
20                                                           dispositive and Daubert motions
      Reply to Dispositive and Daubert Motions               30 days following the filing of opposition
21                                                           to dispositive and Daubert motions
22    Pre-Trial Conference                                   60 days prior to the start of trial
23    Trial                                                  TBD

24      3. ESI PROTOCOL

25   Plaintiffs’ position:

26            On January 17, the Court ordered the parties to “finish negotiating the ESI protocol, protective

27   and clawback orders by February 21, 2023. Any disputes may be presented at the next CMC.” ECF

28   No. 173. The parties have negotiated regarding the ESI protocol and reached impasse on four
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1    substantial issues. These are: (1) evidence preservation and destruction, (2) the search protocol, (3)
2    privilege log timing, and (4) the production of non-public attachments linked to other documents.
3           Plaintiffs moved with alacrity to negotiate an ESI Protocol. On January 5, Plaintiffs sent Meta
4    their proposed ESI protocol. Forty-one days later, on February 15, Meta sent a counterproposal. The
5    parties conferred on February 22 and 23. On February 27, Plaintiffs sent a counter to Meta. The parties
6    exchanged further proposals on March 4 and March 6. Meta sent Plaintiffs a revised ESI Protocol
7    proposal at 7:14 pm on March 7, the day that this case management conference statement was due.
8           As discussed below, Plaintiffs respectfully request that the Court enter Plaintiffs’ proposed ESI
9    protocol. To move this case forward, it is imperative that an ESI Protocol is entered. The Court already
10   made that clear at the last CMC, and no further delay in entry of an ESI Protocol is warranted.
11          In addition to the four substantive issues that need to be resolved, Meta briefly references eight
12   issues relating to the format in which the documents will be produced that are unresolved. For example,
13   the parties disagree regarding whether PowerPoint presentations should be produced in their native
14   format or as TIFF images. Plaintiffs are hopeful that most of these document production format issues
15   can be resolved prior to March 14.
16          To the extent that some of these document production format issues are not resolved prior to
17   March 14, the Court should still enter the remainder of the ESI protocol. If necessary, the parties can
18   be directed to brief and/or file a short addendum regarding the remaining issues. Until an ESI Protocol
19   is entered regarding the core elements of ESI discovery in this matter, discovery will be stymied. The
20   Court should not allow document production format disputes to hold up entry of an ESI Protocol.
21          Plaintiffs attach hereto, as Exhibit I, Plaintiffs’ proposed ESI protocol (“Plaintiffs’ ESI
22   Protocol”). Plaintiffs also attach hereto, as Exhibit J, a redline comparing Plaintiffs’ ESI Protocol with
23   the Northern District of California model ESI protocol.
24      A. Preservation: Meta Should Not Be Grated License to Delete Critical Evidence
25          The parties have proposed fundamentally different approaches to preservation. Meta has
26   refused to engage in substantive conversations about its preservation efforts and now asks the Court to
27   enter an ESI protocol that authorizes Meta to delete more than a dozen broad categories of relevant
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1    evidence without explanation. By contrast, Plaintiffs seek a modest agreement on preservation that
2    reiterates the parties’ existing legal obligations and creates a fair procedure for any requests by a party
3    to stop preserving specific relevant evidence.
4            Plaintiffs’ ESI Protocol is based on well-established legal standards for the preservation of
5    evidence. First, under Plaintiffs’ ESI Protocol, the parties affirm their commitment to follow the
6    governing law on preservation under which they are obligated to “preserve evidence that they know or
7    reasonably should know is relevant to any claim or defense in the action.” Exhibit I, Plaintiffs’ ESI
8    Protocol, at § 5. As this Court has explained, “as soon as a potential claim is identified, a litigant is
9    under a duty to preserve evidence which it knows or reasonably should know is relevant to the action.”
10   Rockman Co. (USA), Inc. v. Nong Shim Co., Ltd, 229 F. Supp. 3d 1109, 1122 (N.D. Cal. 2017) (Orrick,
11   J.) (quoting In re Napster, 462 F. Supp. 2d 1060, 1067 (N.D. Cal. 2006)).
12           Second, Plaintiffs’ ESI Protocol creates a fair procedure for any request by a party to stop
13   preserving specific relevant evidence. Under Plaintiffs’ proposal, if “a Party seeks to be relieved of the
14   obligation to preserve certain relevant evidence, it may file a motion for a protective order seeking to
15   be relieved of that obligation for specific relevant evidence.” Exhibit I, Plaintiffs’ ESI Protocol, at § 5.
16   The moving party bears the burden of demonstrating “good cause” and a “particular need” for a
17   protective order to not preserve relevant evidence. This is a standard approach endorsed by the Manual
18   for Complex Litigation. § 11.442. (“[T]he party seeking destruction should be required to show good
19   cause before destruction is permitted.”). So that the parties can properly assess requests to stop
20   preserving certain relevant evidence, Plaintiffs’ ESI Protocol requires that the party seeking the
21   protective order provide a precise description of what it seeks to stop preserving, and specific
22   information, including regarding the “costs and burdens of preservation.” Exhibit I, Plaintiffs’ ESI
23   Protocol, at § 5.
24           Meta asserts below that Plaintiffs’ proposed ESI Protocol ignores that preservation of ESI
25   should be “reasonable and proportionate.” Not so. Plaintiffs are willing to discuss proportionality, but
26   Meta must provide information about what specifically it seeks to stop preserving, its associated
27

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1    burden, and alternatives. Without that information, neither the Court nor the Plaintiffs can make an
2    informed decision about the reasonableness or proportionality of preservation.
3           Without a showing of good cause or any explanation of its systems, Meta demands the Court
4    enter an ESI Protocol that permits it to categorically stop preserving more than a dozen broad,
5    undefined categories of relevant documents. Disturbingly, Meta’s ESI Protocol states that the parties
6    should stop preserving both “server, system, or network logs” and “[d]ynamic fields in databases or
7    log files not stored or retained in the ordinary course of business.” Meta’s Proposed ESI Protocol, at §
8    5(f). But those logs contain evidence at the very heart of this litigation: the health information
9    transmitted by healthcare providers and covered entities to Meta. The Court has also recognized that
10   the “amount of data that seeps through [Meta’s] filtration systems” is relevant to this action. Order
11   Denying Preliminary Injunction at 32. Based on general knowledge, the logs and databases Meta seeks
12   permission to stop preserving would likely include key data to prove some of Plaintiffs’ core allegations
13   in the Consolidated Amended Complaint. See CCAC ¶¶ 5-9, 13, 75, 79, 81-82, 249-258, 268-270, 303-
14   310, 312, 314-315, 335-340, 368, 371-372, 376, 381-382, 387, 396-398, 407, 419, 421, 460, 475, 476-
15   481, 492; see also Smith Decl. ¶¶ 5-6, 26-33, 52, 62, 67, 97, 130-141, 149-150, 157-162, 171-186, 187-
16   191, 192-196, 199-201. And, if the logs and databases did not contain relevant information, then there
17   would no need for Meta to obtain an order permitting their destruction.
18          Meta’s ESI Protocol also authorizes Meta to stop preserving ESI created before April 1, 2018
19   or after the filing of the Consolidated Complaint on February 21, 2022. Meta’s Proposed ESI Protocol,
20   at § 5(b). This provision would empower Meta to stop preserving the documents relating to Meta’s
21   ongoing violation of patients’ privacy rights and Plaintiffs’ request for injunctive relief. Meta also does
22   not provide any justification for failing to preserve ESI created before April 1, 2018. There are class
23   members whose claims arose prior to April 1, 2018 because (among other reasons) Plaintiffs allege
24   that “all applicable statutes of limitations have been tolled based on the discovery rule and Meta’s
25   concealment, and Meta is estopped from relying on any statutes of limitations in defense of this action.”
26   Plaintiffs’ Consolidated Amended Complaint, Dkt. No. 185, at ¶¶ 281-285. In addition, documents
27   relating to the other important issues – such as creation of the Pixel and Meta’s “Health” division and
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1    how they operate – were likely created before April 1, 2018. There is no reason for the Court to enter
2    an ESI protocol that grants Meta a categorical license to delete documents created before April 1, 2018.
3            Furthermore, many of the categories of documents that Meta seeks authorization to stop
4    preserving are black boxes. For example, Meta’s ESI Protocol states that it will only use “standard
5    business processes” to retain “instant messages and chats that are not chronicled to an email archive
6    system.” Meta’s Proposed ESI Protocol, at § 5. But Plaintiffs are unable to evaluate this proposal, as
7    Meta has neither disclosed how its instant messages and chats are archived nor what “standard business
8    processes” Meta uses to retain its instant messages and chats.
9            Meta cannot have it both ways. Meta refuses to provide Plaintiffs with information about its
10   preservation efforts, but also wants to Plaintiffs to endorse Meta’s limitations on its preservation efforts.
11   Plaintiffs cannot authorize Meta to delete relevant information when Plaintiffs are in the dark as to
12   what Meta is preserving and what specifically Meta seeks to stop preserving.
13           Contrary to Meta’s incorrect assertion, Meta’s proposed ESI protocol does not follow, let alone
14   “mirror,” this district’s model ESI Protocol. This District's Model ESI protocol is based on the parties
15   discussing preservation, and begins by stating, “The parties have discussed their preservation
16   obligations and needs and agree that preservation of potentially relevant ESI will be reasonable and
17   proportionate.” Model ESI Protocol at § 4 (emphasis added). Here, Meta refuses to have any
18   substantive discussions regarding preservation despite Plaintiffs’ repeated requests. (Meta has stated in
19   meet-and-confers that it would be willing to discuss preservation at some undefined point in the
20   future.)1 Also, contrary Meta’s assertion, the Model ESI Protocol also does not endorse that the parties
21   stop preserving any particular source of ESI, but instead leaves a blank where the parties can fill in any
22   sources of ESI that they agree need not be preserved. Model ESI Protocol at § 4(d),(e),(f). Here, Meta
23   filled in the blanks itself, and refused to provide any information to Plaintiffs. This bears no
24   resemblance to the cooperative approach endorsed by this District’s Model ESI protocol.
25
     1
26    Meta’s misses the point when it criticizes Plaintiffs for not identifying data bases by name prior to
     discovery or engagement by Meta on preservation. See In re FB Cons. Privacy User Profile Litig.,
27   Case No. 3:18-md-02843-VC, Dkt. 1104 at 49, (“How were the plaintiffs supposed to know what
     specific information Facebook collected about them[?]… Through discovery, the plaintiffs were
28   entitled to this evidence – that is the whole point of civil discovery.””)
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1       B. Search Protocol: Meta Should Not Be Permitted to Unilaterally Control Selection of
2           Custodians and Search Terms and Should be Required to Engage in Cooperative Process
3           At the last Case Management Conference, the Court ordered the parties to “begin negotiating
4    custodians, search terms, and other prerequisites for discovery now.” ECF No. 173. Despite repeated
5    requests from Plaintiffs, Meta has not proposed search terms or custodians to search its ESI. Meta has
6    not provided any excuse for dragging its feet in negotiating search terms and custodians.
7           The parties have a fundamental dispute regarding whether search terms and custodians should
8    be selected via negotiation and, if necessary, court order (Plaintiffs’ proposal) or whether the producing
9    party should be granted the unilateral right to make final decisions regarding search terms and
10   custodians (Meta’s proposal). Meta’s ESI Protocol transfers final decision-making authority regarding
11   search terms and custodians from the district court to the producing party. Specifically, Meta proposes
12   a novel ESI Protocol in which the producing party “determine[s]” which documents it will search and
13   produce. Meta ESI Protocol at § 6. Under its proposal, Meta would unilaterally pick the custodians and
14   Plaintiffs would be prohibited from requesting additional search terms after receiving Meta’s
15   production. Model ESI Protocol at § 6 (“No additional iterations of search term development will be
16   conducted.”)
17          Meta does not identify any ESI Protocols that follow Meta’s proposed search approach. Meta’s
18   ESI Protocol not only violates this Court’s existing order that the parties negotiate search terms and
19   custodians, but it is also the antithesis of a cooperative or transparent process for searching ESI. Courts
20   have repeatedly emphasized that, “while key word searching is a recognized method to winnow
21   relevant documents from large repositories, use of this technique must be a cooperative and informed
22   process.” In re Seroquel Prod. Liab. Litig., 244 F.R.D. 650, 662 (M.D. Fla. 2007). Meta’s approach is
23   “is contrary to case law requiring the joint development of search terms, often with the use of experts,
24   to be applied to electronic databases.” In re eBay Seller Antitrust Litig., No. C 07-1882 JF (RS), 2009
25   WL 10694848, at *2 (N.D. Cal. July 13, 2009).
26          Meta defends its novel process by assuring that it will review a “null set” of documents that do
27   not contain Meta’s search terms. While the “null set” could provide some useful information, it does
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1    not provide the same information as a “hit report,” which provides the volume of documents returned
2    by various search terms. Meta proclaims that “hit reports” are unnecessary because they do not provide
3    information about responsiveness. But Meta does not explain why the parties should not exchange both
4    “hit reports” and “null sets,” which both provide useful (but different) information. Nor does Meta’s
5    production of null sets justify divesting the Court of jurisdiction over disputes regarding search terms
6    and custodians. (Of course, Meta could also produce null sets as part of the parties’ negotiations
7    regarding search terms and custodians.)
8           Plaintiffs’ ESI Protocol includes a standard process for ESI negotiations. First, the producing
9    party will “propose initial search terms, custodians, and sources of ESI for custodial searches...” Exhibit
10   I, Plaintiffs’ ESI Protocol, at § 6. Second, the producing party’s proposal “will be subject to negotiation
11   and input from the receiving party.” Exhibit I, Plaintiffs’ ESI Protocol, at § 6. The receiving party may
12   ask for (and the producing party will not unreasonably withhold) qualitative and quantitative
13   information about the producing party’s search methodology, including hit reports. Third, “if the
14   Parties are unable to reach agreement on initial search terms, custodians and sources of ESI, they shall
15   present their dispute to the Court in accordance with its Standing Order.” Id., at § 6.
16          Negotiations over search terms and custodians are a standard part of modern discovery in which
17   Meta has participated in other cases. See e.g., Price v. Facebook, Inc., No. 18-MD-02843-VC (JSC),
18   2020 WL 13200227, at *1 (N.D. Cal. Apr. 2, 2020) (Meta “negotiat[ing] search terms and custodians”
19   in a consumer privacy class action); see also DZ Reserve v. Meta Platforms, Inc., 3:18-cv-04978-JD,
20   Dkt. No. 86 at 5-6. Meta has not explained why this case is different, such that Meta alone should
21   control selection of search terms and custodians.
22          Meta asserts that the receiving party should not be allowed to participate in negotiating search
23   terms and custodians because they are “least situated to understand the systems and data at issue…”
24   Meta’s position is absurd. Meta seeks to deny Plaintiffs the opportunity to seek judicial relief regarding
25   search terms and custodians because Meta refuses to provide any information about its systems and
26   data. The superior approach is for Meta to tell Plaintiffs what sources of ESI it intends to search, so
27   that the parties can have an informed conversation. The approach is doubly absurd because Meta would
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1    preclude Plaintiffs from offering additional search terms after initial productions and discovery gives
2    Plaintiffs greater insight into “the systems and data at issue.”
3           Meta also claims that Plaintiffs’ proposed search process should be rejected because “there are
4    no stated time, sequencing, volume, or other limits on this amorphous process.” This criticism is
5    spurious. As for timing and sequencing, Plaintiffs propose timing and sequencing for the selection of
6    search terms and custodians and the production in its proposed schedule. In fact, Meta opposes
7    Plaintiffs’ proposed timing and sequencing in the schedule section as “unnecessary.” As for the volume
8    of the ESI produced, Meta does not propose a limit. Instead, only Plaintiffs’ proposed search plan
9    requires the parties to produce hit reports, which are one necessary prerequisite for any negotiations or
10   judicial determination regarding volume.
11       C. Privilege Logs: Meta Must Produce Timely Privilege Logs
12          The parties also provide competing proposals on the privilege log timing. 2 Plaintiffs’ ESI
13   Protocol specifies that the “Parties will produce privilege logs within 30 days of when the document
14   would have otherwise been produced.” Exhibit I, Plaintiffs’ ESI Protocol, at § 9(c). Plaintiffs propose
15   the 30-day interim deadline so that any privilege-log related disputes can be resolved efficiently and
16   not delay discovery. Given the parties have not agreed to a privilege log format, it is particularly
17   important that the privilege logs are produced in a timely fashion. While the Northern District’s Model
18   ESI Protocol does not specify a deadline, courts generally require parties to agree on interim and final
19   dates for the exchange of privilege logs. See e.g., Magistrate Judge Virginia K. Demarchi’s Standing
20   Order for Civil Cases, at 2 (“The parties should agree on interim and final dates for the exchange of
21   privilege logs that permit any disputes about claims of privilege or work product protection to be
22   addressed in advance of the discovery cut-off.”).
23       D. Document Families: Meta Must Produce Linked Attachments to Its Documents
24          As is standard practice in discovery, the parties agree that the ESI Protocol should require that
25   “parent-child relationships will be maintained in production.” See Exhibit I, Plaintiffs’ ESI Protocol,
26   2
       The parties also have a dispute about the necessary information to include in a privilege log. However,
27   rather that litigate the issue in a vacuum, Plaintiffs have agreed to defer the issue to a later date, with
     the parties reserving rights to challenge privilege log designations (and the format and sufficiency of
28   those designations) when made.
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1    Appendix 1, § 1; Meta’s ESI Protocol, Appendix 1, § 1. For example, if a responsive e-mail attaches a
2    Microsoft Word document, then that document will also be produced.
3           A dispute has arisen because Meta has added a sentence to its ESI Protocol to redefine the
4    attachment: “Links within a document are not considered attachments.” Meta’s ESI Protocol, Appendix
5    1, § 1. Meta’s categorical-exception would swallow the rule, allowing Meta to withhold non-public or
6    internal documents attached to relevant e-mails through links. This problem is not theoretical. Publicly
7    filed documents from other litigation reveal that Meta employees routinely communicate by attaching
8    internal documents to their e-mails through links. See e.g., DZ Reserve v. Meta Platforms, Inc., 3:18-
9    cv-04978-JD, Dkt. No. 356-15 (N.D. Cal. Dec. 21, 2021), at 9 of 18 (e-mail between Meta employees
10   attaching a non-public document through a link – “Link to GMS hub message”).
11          Plaintiffs’ ESI Protocol thus specifies that “documents referenced … via links to internal or
12   non-public documents” are part of family groups and thus must be produced along with their parent
13   document. See Exhibit I, Plaintiffs’ ESI Protocol, Appendix 1, § 1. Other courts facing this problem
14   have adopted Plaintiffs’ approach. See Stitch Editing Ltd. v. TikTok, Inc., No. CV 21-06636-SB (SKX),
15   2022 WL 17363054, at *1 (C.D. Cal. Aug. 31, 2022) (“Documents referenced in hyperlinks from all
16   productions—existing and future—must be produced together with the source document containing
17   the hyperlinks so that the association between parent document and hyperlinked document is
18   maintained.”); IQVIA, INC. v. Veeva Sys., Inc., No. 2:17-CV-00177-CCC-MF, 2019 WL 3069203, at
19   *5 (D.N.J. July 11, 2019).
20          In the cases cited by Meta, the producing party was not permitted to withhold all linked
21   attachments from its production. For example, in Noom, the receiving party was allowed to review the
22   producing party’s production and identify linked attachments that it sought to have produced. See
23   Nichols v. Noom Inc., No. 20CV3677LGSKHP, 2021 WL 948646, at *4 (S.D.N.Y. Mar. 11, 2021)
24   (“the process the Court already ordered is appropriate. It will allow Plaintiffs to evaluate Noom's
25   production and, if Plaintiffs determine there is a need for an additional targeted pull or production or
26   clarifying information about a hyperlinked document's identity or Bates number, Plaintiffs can request
27   it.”) Here, Meta has not agreed to produce the linked attachments, even if they are specifically requested
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1    by the Plaintiffs.
2    Meta’s position:
3            Meta’s position on the ESI Protocol is guided by Sedona Conference Principle 6, which
4    instructs that “[r]esponding parties are best situated to evaluate the procedures, methodologies, and
5    technologies appropriate for preserving and producing their own electronically stored information.”
6    The Sedona Principles, The Sedona Conference, 19 Sedona Conf. J. 1, 52 (2018).
7            On February 15, 2023, Meta sent Plaintiffs its revised draft of the ESI Protocol, including the
8    citation to Sedona Conference Principle 6 in the section on “Preservation.” Certain portions of the ESI
9    Protocol were topics of discussion during the meet and confers on February 17, 22, and 23. After
10   repeated requests for a full set of proposed edits, on February 27, 2023, Plaintiffs provided Meta with
11   their revised draft of the ESI Protocol.         Notwithstanding the delay in receiving Plaintiffs’
12   counterproposal, Meta proceeded expeditiously to address both the substantive areas of disagreement
13   described below and the more technical disputed issues (such as production formats, metadata fields,
14   etc.) that require discussions with Meta’s eDiscovery vendor. On March 4, 2023, Meta sent Plaintiffs
15   a revised draft of the ESI Protocol. The parties met and conferred again on March 6, 2023, after which
16   Plaintiffs circulated a revised version of the ESI Protocol.
17           The parties have made progress in negotiating the ESI Protocol, and it is Meta’s position that
18   many of the remaining issues can be resolved through additional discussions prior to the Conference.
19   Nevertheless, Meta raises five issues3 with the Court: (1) data preservation; (2) search methodology;
20   (3) privilege logs; (4) electronic links in documents, and (5) unresolved additional issues. For the
21   Court’s reference, attached hereto are the following exhibits: Exhibit A (Meta’s draft ESI Protocol),
22   Exhibit B (A redline of Meta’s draft ESI Protocol compared to Plaintiffs’ draft ESI Protocol), and
23

24

25   3
       Although some departures from the Model Protocol are appropriate to clarify issues or tailor
26   procedures to the needs of a case, Meta has endeavored to follow the guidance of the Model Protocol.
     Plaintiffs, however, continue to insist on edits that depart from the Model Protocol, which Meta
27   believes are unnecessary and/or duplicative of information already included in the Model Protocol and
     agreed to by the parties. Meta hopes that such issues can be addressed through additional meet and
28   confer discussions.
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1    Exhibit C (A redline of Meta’s draft ESI Protocol compared to the Northern District of California’s
2    Model ESI Protocol).
3           (1) Data Preservation
4           At the January 10, 2023 Conference, this Court rejected Plaintiffs’ demand for written
5    disclosures from Meta concerning data preservation, noting that “Defendant recognizes its preservation
6    obligations regarding records and will not be required to provide written disclosures to plaintiffs.” ECF
7    No. 173 ¶ 2.
8           Meta continues to recognize and abide by its preservation obligations under the Federal Rules.
9    Accordingly, Meta proposed a process for ESI preservation that mirrors Section 4 of the Northern
10   District of California’s Model Stipulated Order re: Discovery of Electronically Stored Information for
11   Standard Litigation (the “Model Protocol”), which this Court has directed parties to consult. Meta’s
12   proposed process is designed “[t]o reduce the costs and burdens of preservation and to ensure proper
13   ESI is preserved.” See Model Protocol Sec. 4.
14          First, Meta adds a section that is not in the Model Protocol, but that reiterates the obligations of
15   the parties to preserve relevant data: “[t]he Parties will preserve non-duplicative, relevant information
16   currently in their possession, custody, or control; however, the Parties are not required to modify, on a
17   going forward basis, the procedures used by them in the usual course of business to back up and archive
18   data.” This second clause does not suggest that Meta will fail to preserve appropriate data; it simply
19   states that no changes are needed to existing procedures for backing up and archiving data to address
20   Meta’s preservation obligations.
21          Second, in accordance with Section 4(a) of the Model Protocol, Meta proposes the time period
22   for which data will be preserved – from April 1, 2018 through the filing of the Consolidated Complaint.
23          Third, in accordance with Sections 4(b) and 4(c) of the Model Protocol, Meta provides for
24   discussions among the parties regarding ESI sources and custodians, including that the parties will
25   agree on a number of custodians for whom to preserve data, but with an option to meet and confer to
26   discuss additional custodians as reasonably necessary.
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1           Fourth, in accordance with Section 4(d) of the Model Protocol, Meta’s proposal identifies
2    sources that “are not reasonably accessible because of undue burden or cost pursuant to Fed. R. Civ. P.
3    26(b)(2)(B).” Meta proposes that “unwarranted extraordinary measures will not be taken to preserve
4    ESI from these sources,” but clarifies that “ESI from these sources will be retained pursuant to standard
5    business processes, but not otherwise preserved, searched, reviewed, or produced unless ordered by the
6    Court upon a motion of a Party.” These sources include two of the example sources identified in the
7    Model Protocol: “backup systems and/or tapes used for disaster recovery” and “systems no longer in
8    use that cannot be accessed by using systems currently in use by the Party,” as well as additional
9    specified sources. Here, Meta is not, as Plaintiffs frame it, asking to delete broad categories of relevant
10   evidence. Instead, Meta is, pursuant to the Model Protocol, identifying data source that are either (1)
11   not reasonably accessible such that it would be unduly burdensome or costly to access those data
12   sources to determine if they might contain relevant information, or (2) data sources that, while they
13   could contain relevant information, are similarly too burdensome, difficult, and costly to preserve under
14   the proportionality factors.
15          Fifth, Meta proposes, in accordance with Section 4(e) of the Model Protocol and utilizing some
16   of the example sources in the Model Protocol, that certain information that may contain relevant
17   information need not be preserved under the proportionality factors, including “(1) Deleted, slack,
18   fragmented, or unallocated data only accessible by forensics. (2) Random access memory (RAM),
19   temporary files, or other ephemeral data that are difficult to preserve without disabling the operating
20   system. (3) On-line data such as temporary internet files, history, cache, cookies, and the like. (4) Data
21   in metadata fields that are frequently updated automatically, such as last-opened or last modified dates.
22   (5) Mobile device activity logs. (6) Server, system, or network logs. (7) Dynamic fields in databases or
23   log files not stored or retained in the usual course of business. (8) Information created or copied during
24   the routine, good-faith performance of processes for the deployment, maintenance, retirement, and/or
25   disposition of computer equipment by the Party.”
26          Finally, Meta proposes that, due to various privacy regulations and court orders that require the
27   disposition of certain identifiable user data, the parties will meet and confer concerning the preservation
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1    of such information if any such information is determined to be relevant to the claims or defenses in
2    this litigation. Meta has entered into numerous ESI Protocols in this District that follow these directives
3    of the Model Protocol. See, e.g., Gullen v. Facebook, Inc., No. 3:16-cv-00937-JD, Dkt. 70 (N.D. Cal.
4    Feb. 17, 2017); In re Facebook Biometric Information Privacy Litigation, No. 3:15-cv-03747-JD, Dkt.
5    144 (N.D. Cal. Sept. 9, 2016).
6           Plaintiffs’ proposal completely rejects the Model Protocol’s guidance. With minor exceptions,4
7    they propose their own system for data preservation that would require Meta to freeze all potentially
8    relevant data sources, regardless of cost or burden, unless and until Meta seeks judicial intervention in
9    the form of a protective order.
10          First, Plaintiffs propose broadly that: “The Parties are obligated to identify, locate, maintain and
11   preserve evidence that they know or reasonably should know is relevant to any claim or defense in the
12   action.”
13          Second, Plaintiffs propose that: “If a Party seeks to be relieved of the obligation to preserve
14   certain relevant evidence, it may file a motion for a protective order seeking to be relieved of that
15   obligation for specific relevant evidence.” Plaintiffs require that before filing a motion for a protective
16   order, a party must first provide the other party a “precise description” with several pieces of
17   information about the data sources, including whether or not the party will stipulate to waive certain
18   elements of the other party’s claims or defenses connected to the data at issue.
19          Third, Plaintiffs propose that: “Nothing in this Protocol shall be construed to permit a Party to
20   destroy or fail to retain any materials relevant to any complaint filed in this matter, including event
21   level data.”
22          This novel process is unnecessarily costly and burdensome on both the parties and the Court,
23   and ignores the Model Protocol’s guidance that “preservation of potentially relevant ESI will be
24   reasonable and proportionate.” Model Protocol Sec. 4; see, e.g., Rodriguez v. Google LLC, 2021 WL
25   8085492, at *2 (N.D. Cal. Dec. 1, 2021) (denying plaintiffs’ request for the court to require Google to
26   4
       Plaintiffs have counter-proposed a time period for the preservation of data, without offering any basis
27   for the approximately twleve year period, and have identified a single data source (server, system, or
     network logs) for which they seek additional information. Meta believes that both of these issues can
28   be addressed by the parties within the framework of Meta’s proposal, as guided by the Model Protocol.
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1    alter its data retention policies, and stating that it would not “require Google to start saving petabytes
2    of data per day, indefinitely, without a more compelling showing of need”). There is nothing
3    proportionate about requiring a party to “retain any materials relevant to any complaint filed in this
4    matter,” without taking into account, as the Model Protocol suggests, sources that are not reasonably
5    accessible because of undue burden or cost pursuant to Fed. R. Civ. P. 26(b)(2)(B). And several of the
6    data sources that Plaintiffs would require Meta to retain are particularly and inappropriately
7    burdensome for preservation and collection. See, e.g., See Toshiba Am. Elec. Components, Inc. v.
8    Superior Court of Santa Clara, 124 Cal. App. 4th 762, 768 (Cal. Ct. App. Dec. 3, 2004) (“Finding
9    relevant data on a large number of backup tapes can be an expensive and time-consuming process.”).
10          Although Plaintiffs’ proposal cites two cases which are also cited by Plaintiffs in this statement,
11   neither one supports their proposal; both cases merely stand for the unremarkable proposition that
12   parties need to preserve relevant data in litigation. But Meta’s proposal, based on the Model Protocol,
13   already acknowledges this obligation and makes clear that Meta “will preserve non-duplicative,
14   relevant information currently in their possession, custody, or control.”
15          Meta continues to abide by its preservation obligations, and takes the position that the Model
16   Protocol provides the most efficient and appropriate approach to preservation in this case.
17          (2) Search Methodology
18          Meta’s proposed process for the review and production of relevant, non-privileged documents
19   aligns with Sedona Conference Principle 6, which states that “[r]esponding parties are best situated to
20   evaluate the procedures, methodologies, and technologies appropriate for preserving and producing
21   their own electronically stored information.” The Sedona Principles, 19 Sedona Conf. J. at 52.
22          Plaintiffs mischaracterize both the process Meta has proposed and the level of cooperation
23   attendant to this process. For clarity, Meta has proposed the following approach for searching
24   potentially responsive data, which Meta believes is a transparent, efficient process. First, Meta5 will
25   come up with search terms, that will be shared with Plaintiffs as discussed further below, that are
26   designed to flag potentially relevant, responsive documents. In addition to reviewing the documents
27
     5
      For the sake of clarity, Meta has described the process applicable to Meta’s use of search terms
28   under Meta’s proposal. This proposed process applies equally to all parties.
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1    that contain those designated search terms, Meta will review a statistically valid, randomly generated
2    sample set of documents that do not contain any of those search terms (the “Null Set”). The purpose
3    of reviewing the Null Set is to validate the search terms and identify potential gaps; if the Null Set
4    contains a material number of responsive documents, that would indicate that the search terms are
5    potentially underinclusive. Meta would then undertake a review of the Null Set to identify any
6    responsive, non-privileged documents therein, produce that set of documents to Plaintiffs, and then
7    consider any revisions to the search terms that may be necessary to reasonably identify the responsive
8    documents identified in the Null Set. The full set of search terms then would be provided to Plaintiffs
9    for review and comment, and Meta, if requested to do so by Plaintiffs, would engage in the review of
10   a second Null Set and consider additional search terms proposed by Plaintiffs. Meta would then review
11   a randomly generated, statistically valid sample set to assess the search terms proposed by Plaintiffs.
12   If the results indicate that the search terms are not overbroad, Meta would then use them to identify
13   additional potentially responsive documents for review.
14          Plaintiffs have rejected Meta’s proposal, arguing that it fails to involve Plaintiffs as early in the
15   process as they demand to be involved.6 Instead, Plaintiffs propose a search methodology that turns
16   Sedona Conference Principle 6 on its head by empowering the party least situated to understand the
17   systems and data at issue to freeze everything in place until it is satisfied with the search parameters,
18   and, further, explicitly contemplates a process leading to judicial intervention at each step if the parties
19   are unable to reach agreement. Pursuant to Plaintiffs’ proposal, first, the parties must meet and confer
20   over “the use of search tools and methodologies, including the use of search terms and [technology
21
     6
22     Plaintiffs’ case citations are inapposite. In the 2007 case from the Middle District of Florida, for
     example, not only was the case in a different procedural posture, wherein approximately 10 million
23   pages of documents had already been produced purportedly with significant errors, but the Court
     expressed dissatisfaction with a search process that defendant “undertook . . . in secret”—a process
24   that does not reflect the transparent process proposed by Meta here. See In re Seroquel Prods.
     Liability Litig., 244 F.R.D. 650, 661–62 (M.D. Fl. 2007). Similarly, in In re eBay Seller Antitrust
25   Litig., 2009 WL 10694848, at *2 (N.D. Cal. July 13, 2009), the court expressed dissatisfaction with a
26   defendant’s “failure to incorporate any of plaintiffs’ input into the terms” negotiated during an
     extensive negotiation period. Here, unlike in In re eBay, Meta’s proposal specifically includes
27   Plaintiffs’ input as described herein. Finally, Price v. Facebook, 2020 WL 13200227, at *1 (Apr. 2,
     2020 N.D. Cal.), a case concerning a motion to compel the production of search terms used in
28   response to a government demand, does not address the issues before the court.
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1    assisted review (“TAR”)], before any particular tool or methodology is applied.” Absent agreement,
2    Plaintiffs propose that neither party can utilize TAR to filter out potentially responsive ESI without “a
3    Court order.” Next, the Producing Party must propose search terms, custodians, and sources of ESI
4    “for the consideration of the Receiving Party.” Plaintiffs mandate broadly that these proposals “will
5    be subject to negotiation and input from the Receiving Party” without any description of what such
6    negotiation and input will entail.
7           There are no stated time, sequencing, volume, or other limits on this amorphous process. In
8    fact, Plaintiffs state that the Receiving Party “may ask for (and the Producing Party will not
9    unreasonably withhold) qualitative and quantitative information regarding search methodology,
10   including but not limited to, production of hit reports (to include unique hits and hits with families),
11   and associated testing and validation to be conducted after the methodology is implemented.” There
12   are no definitions of, nor limits on, this proposed “qualitative and quantitative information” that can be
13   requested or what the “associated testing and validation” will entail, nor are there any limits (or
14   perceivable end) to the rounds of negotiations. Instead, Plaintiffs’ proposal once again relies on
15   establishing a process leading to judicial intervention, noting that if there are disagreements, then the
16   parties “shall present their dispute to the Court in accordance with its Standing Order.” Under
17   Plaintiffs’ proposal, the parties “may request additional search terms and custodians.” The only
18   guardrail to this otherwise carte blanche authority is that such additional requests “must be made in
19   good faith,” but, again, disputes will “be presented to the Court.”
20          The contrast between the proposals is evident. Meta’s proposal provides a cooperative,
21   transparent, and efficient search, review, and production process that can target potentially responsive
22   documents because it is implemented by the party best situated to evaluate its own ESI. Meta’s
23   structured proposal guards against runaway discovery by implementing specific steps, validation
24   procedures, and a conclusion to the process. Plaintiffs contemplate a process leading to judicial
25   intervention concerning the use of TAR to filter out potentially responsive documents if the parties
26   cannot reach agreement. In contrast, Meta has proposed the use of TAR, if a party so chooses, to filter
27   out non-responsive documents, and further provided both that the parties will meet and confer to
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1    discuss the use of TAR for any other purpose and a transparent process concerning the use of TAR,
2    including sharing information about the measures used to validate the results. In contrast, Plaintiffs
3    offer only an unlimited, unrestricted process of back-and-forth negotiations on search terms,
4    custodians, and other parameters, including requests for an unlimited amount of “qualitative and
5    quantitative information,” such as hit reports.         But hit reports do not provide insight into
6    responsiveness; it is the process of reviewing samples of documents to validate the results of search
7    terms that provides meaningful insight. Plaintiffs otherwise broadly state that undefined “associated
8    testing and validation [will be] conducted,” but Meta’s proposed process explicitly describes the
9    validation process and the high-quality information that is shared with Plaintiffs.
10          It is Meta’s position that structuring a search and review process in a manner that incorporates
11   validation of search terms, rather than just volume counts, will result in a more meaningful process
12   leading to a reasonable universe of potentially responsive documents for review, while at the same time
13   creating a more efficient, less antagonistic process.
14          (3) Privilege Logs
15          The parties have agreed to address the format of privilege logs in this matter at a later date, but
16   the parties do not agree on the timing for the production of privilege logs. The Model Protocol does
17   not impose any timeline for the production of privilege logs. Based on its experience with the document
18   review and privilege review process, Meta proposes that privilege logs be provided on a rolling basis
19   and prior to the close of fact discovery. As is often the case during the document review process,
20   documents identified as potentially privileged are flagged for privilege review and analysis to
21   determine if they are privileged and to guard against the production of privileged information.
22   Plaintiffs, however, propose that each party would have only 30 days from when a document would
23   otherwise have been produced to produce a privilege log. Based on the anticipated volume and
24   complexity of discovery in this matter, forcing a short timeline on Meta to produce documents while
25   at the same time undergoing the separate privilege review process is not reasonable. Nevertheless,
26   Meta understands concerns about bulk delivery of privilege logs towards the end of discovery and plans
27   to produce rolling logs that adhere to Magistrate Judge DeMarchi’s guidance that parties should
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1    exchange privilege logs within a time frames that “permit any disputes about claims of privilege or
2    work product protection to be addressed in advance of the discovery cut-off.” See Magistrate Judge
3    Virginia K. DeMarchi’s Standing Order for Civil Cases at 2.
4           Meta’s proposal to provide rolling privilege logs before the close of fact discovery provides a
5    more reasonable schedule that allows for flexibility based on the complexity of privilege review and
6    the ultimate volume of documents at issue while providing adequate time to review and challenge
7    privilege determinations prior to the close of fact discovery.
8           (4) Electronic Links Are Not Attachments
9           Both Meta and Plaintiffs agree that parent-child relationships will be maintained in the
10   productions based on the available metadata. Accordingly, an email that attaches a document will be
11   produced in a manner that connects the email and its attachment in a family relationship.
12          However, the parties disagree about whether or not a hyperlink in a document should, or even
13   can, be associated with the document in a family relationship. Meta’s proposal specifies that any
14   hyperlinks within a document are not attachments to that document. Plaintiffs, however, have proposed
15   that hyperlinks within a document must be traced to wherever the hyperlink led at the time the
16   document was created, and then a party must manually associate that purported “child” document with
17   the purported “parent” document containing the hyperlink, despite the fact that in the normal course of
18   business no document “child” was attached to the original “parent” document.
19          Hyperlinks within documents are not attachments. See, e.g., Porter v. Equinox Holdings, Inc.,
20   2022 WL 887242, at *2 (Cal. Sup. Ct. Mar. 17, 2022) (“[L]inked documents can present unique
21   challenges that make them different from email attachments. For example, a responding party may not
22   be able to collect the precise linked documents referenced in a message if the document has been
23   modified or deleted.”); see also Nichols v. Noom Inc., 2021 WL 948646, at *4 (S.D.N.Y. Mar. 11,
24   2021) (“To start, the Court does not agree that a hyperlinked document is an attachment. . . . When a
25   person creates a document or email with attachments, the person is providing the attachment as a
26   necessary part of the communication. When a person creates a document or email with a hyperlink,
27   the hyperlinked document/information may or may not be necessary to the communication.”). From a
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1    purely technical perspective, there is nothing “attached” to a document by virtue of the fact that the
2    document contains a hyperlink, and thus there is no file or other ESI to include as an “attachment.”
3    The process of tracing hyperlinks to the referenced material that Plaintiffs’ process contemplates would
4    be a completely manual, costly, and burdensome process that involves a source-by-source, hyperlink-
5    by-hyperlink review. 7 See Porter, 2022 WL 887242, at *2 (“[L]inked documents can also create
6    review challenges and inefficiencies given the complexity of connecting those documents to the
7    communications which reference them.”); see also Shenwick v. Twitter, Inc., 2018 WL 5735176, *1
8    (N.D. Cal. Sept. 17, 2018) (describing the necessary “multi-step process by a human being” to identify,
9    if possible, a hyperlinked document). It is Meta’s position that such a process is not reasonable or
10   appropriate to include in the ESI protocol.
11          (5) Unresolved Additional Issues
12          Although Meta believes that many of these issues can be resolved through further discussion
13   among the parties, it is Meta’s understanding that Plaintiffs are asking the Court to order their version
14   of the ESI Protocol in full. As such, Meta provides the following summaries of its positions on the
15   remaining issues in dispute. These edits can be seen in the redline comparing Meta’s proposed ESI
16   Protocol and Plaintiffs’ proposed ESI Protocol that accompanies this statement:
17

18   7
       Plaintiffs’ citation to an email filed as an exhibit in an unrelated case (which does not even purport
19   to show a hyperlinked document in a family relationship with the document in which it is referenced)
     simply assumes its argument to be true while offering no response to either the burden imposed on
20   Meta or the lack of any automated technical process for the requested proposal. See DZ Reserve v.
     Meta Platforms, Inc., 3:18-cv-04978, Dkt. No. 356-16 (N.D. Cal. Dec. 21, 2021). Similarly,
21   Plaintiffs’ citation to Stitch Editing Ltd. v. TikTok, Inc., 2022 WL 17363054, at *1 (C.D. Cal. Aug.
22   31, 2022), is misplaced. The cited case merely memorializes a ruling made during a discovery
     conference, but fails to address the substance of the reasoning behind that ruling. The conference
23   transcript reveals the court, in assessing whether a party should trace URL-linked documents, was
     guided by the “manageable number” of already produced documents with hyperlinks that were
24   identified by the plaintiffs and stated that it did not “need to get into those definitions [of families]”—
     reiterating that “we’re talking about a manageable number of URLs.” No. 2:21-cv-06636-SB-SK,
25   Dkt. No. 126 at 40:10–14; 40:22–23; 42:2–3 (Aug. 31, 2022 C.D. Cal.); see also IQVIA, Inc. v. Veeva
26   Systems, Inc., 2019 WL 3069203, at *5 (D.N.J. July 11, 2019) (concerning disputes over already-
     produced documents). Here, Plaintiffs have not, and cannot, identify specific documents because
27   document production has not begun; Plaintiffs’ request for a blanket order to undertake a
     burdensome, manual process to create familial relationships that do not exist is unreasonable and
28   should be rejected.
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1           (1) Meta proposed that the parties include a statement in the “Cooperation” section regarding
2    the proportionality necessary in large, complex document productions: “The parties’ cooperation
3    includes propounding reasonably particular discovery requests, identifying appropriate limits to
4    eDiscovery, including limits on custodians, identifying relevant and discoverable ESI, establishing
5    time periods for eDiscovery and other parameters to limit and guide preservation and eDiscovery
6    issues. The failure of counsel or the parties to cooperate in facilitating and reasonably limiting
7    eDiscovery requests and responses will be considered in cost-shifting determinations. The parties agree
8    to use reasonable, good faith, and proportional efforts to preserve, identify and produce relevant and
9    discoverable information consistent with Fed. R. Civ. P. 26(b)(1).” Plaintiffs have repeatedly rejected
10   this provision. It is Meta’s position that such edits are reasonable and necessary to ensure a cooperative,
11   efficient discovery process.
12          (2) Meta proposed that the parties use email threading—that is, a requirement to produce only
13   the most inclusive message in an email chain. This is a standard document production approach that
14   minimizes the duplication of content in a party’s productions and increases efficiencies. Plaintiffs have
15   rejected this proposal, citing concerns with the technical process for accomplishing email threading. It
16   is Meta’s position that email threading is a standard eDiscovery process and Meta will continue to meet
17   and confer with Plaintiffs regarding the technology involved.
18          (3) With respect to privilege logs, Meta proposed that certain communications – such as
19   communications among employees and in-house counsel about this litigation that post-date the
20   complaint – do not need to be logged on a privilege log. Meta also proposed that only last-in-time
21   emails based on email threading need to be included on a privilege log. Meta’s proposal also includes
22   the Model Protocol language stating that parties may utilize categorical privilege logs if appropriate.
23   Plaintiffs rejected these edits. Although the parties have agreed it is premature to determine the format
24   of privilege logs in this manner, it is Meta’s position that such edits are reasonable to include in the
25   ESI Protocol to inform future negotiations.
26          (4)    Meta’s proposal states that a Producing Party does not waive any objections to the
27   production, discoverability, admissibility, or confidentiality of documents and ESI. Plaintiffs rejected
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1    this provision. It is Meta’s position that this is a reasonable addition to the ESI Protocol to protect all
2    parties.
3               (5) The parties have one remaining disagreement concerning the metadata fields to be included
4    in productions. It is Meta’s position that the field DUPLICATE FILEPATH is burdensome and
5    unnecessary in light of the other fields Meta has agreed to provide. It is Meta’s understanding that this
6    is a metadata field that is frequently updated automatically and may require manual revision to provide
7    the relevant underlying information.
8               (6) Based on the technical issues that often arise in productions, Meta’s proposal states that the
9    parties (i) will undertake a process designed to reveal hidden information in documents (e.g., hidden
10   rows in an Excel sheet) and (ii) will TIFF images in a manner such that all data from the native is
11   visible in the TIFF, “to the extent it is reasonably and technically feasible.” Plaintiffs rejected these
12   provisions and propose a requirement that a Producing Party “identify and disclose any instances when
13   it was not feasible to display all [hidden] data visible in the native application.” In practice, that could
14   require a manual re-review of every TIFF and/or native document produced—a non-standard process
15   that would be extremely and unjustifiably burdensome. It is Meta’s position that the parties can address
16   production issues, if any, as they arise during the course of discovery. Rather than mandate an
17   overbroad and inflexible rule to identify potential outliers, Meta proposes a reasonable process with a
18   mechanism to address any outliers that may or may not arise.
19              (7) Due to the anticipated complexity of production in this matter, and to avoid unnecessary
20   discovery disputes, it is Meta’s position that the ESI Protocol should be clear and concise where
21   possible. Accordingly, Meta has rejected Plaintiffs’ inclusion of a duplicative section concerning email
22   families. Similarly, Meta proposed language to identify acceptable file formats for the production of
23   structured data and data from the databases. These proposed file formats—CSV format, tab delimited
24   format, Microsoft Excel format, and Microsoft Access format—are standard formats to transmit data.
25   Plaintiffs rejected this provision, but it is Meta’s position that this is a reasonable and appropriate
26   provision to include in the ESI Protocol.
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1            (8) It is Meta’s position that Excel, audio, video, and multi-media files will be produced in
2    native format. Plaintiffs would require the parties to produce PDFs, Word documents, PowerPoints,
3    and image files in native form as well. This is unduly burdensome and not standard, and Meta’s
4    position is that no such requirement is appropriate here.
5        4. PROTECTIVE ORDER
6    Plaintiffs’ position:
7            Plaintiffs’ proposed protective order accomplishes the purpose of protective orders: protecting
8    material that is confidential while avoiding unwarranted restrictions to access material that is not
9    entitled to special protection.
10           The Parties have been engaged in engaged in negotiations regarding a proposed protective order
11   since December 2022, with Plaintiffs first sending a proposed protective order on December 8, 2022,
12   and Meta sending a competing version on December 9, 2022. From there, multiple drafts have been
13   exchanged and meet and confers completed.
14           At this time, the Parties continue to meet and confer and Plaintiffs believe there are certain
15   issues that can be resolved without the Court’s intervention. However, there are issues on which the
16   Plaintiffs believe the Parties are at an impasse and request the Court’s assistance. Those issues relate
17   to the following: (1) the definition of “Expert”; (2) the definition of “Source Code”; (3) Meta’s
18   limitations on printing Source Code; (4) electronic note-taking during source code review; (5) leaked
19   materials in the public domain; (6) production of source code paper logs; and (6) unresolved additional
20   issues. For the Court’s reference, attached hereto are the following exhibits: Exhibit K (Plaintiffs’
21   proposed Protective Order) and Exhibit L (A redline of Plaintiffs’ proposed Protective Order compared
22   to the Northern District of California’s Model Protective Order).
23           Definition of “Expert”
24           Plaintiffs accept Meta’s definition of “Expert” as “an individual qualified to be an expert
25   pursuant to Rule 702 the Federal Rules of Evidence.” Plaintiffs also accept Meta’s proposal that
26   documents designated as “Confidential,” “Highly Confidential – Attorneys’ Eyes Only,” and “Highly
27   Confidential – Source Code,” can only be viewed by “Experts” who also meet the requirements set
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1    forth in the Model Order (including that such designated documents cannot be viewed by Experts “who
2    are not past or current employees or contractors of a Party or of a Party’s Competitor” and “who, at the
3    time of retention, are not anticipated to become employees or contractors of a Party or of a Party’s
4    Competitor (a fellow or intern shall not be considered an employee) . . . .”) (See Meta’s Proposed
5    Protective Order, Sections 7.3-7.5), unless otherwise ordered by the Court. Plaintiffs proposed adding
6    language to Sections 7.3-7.5 confirming that Plaintiffs may move the Court for an order that documents
7    designated as “Confidential,” “Highly Confidential – Attorneys’ Eyes Only,” and “Highly Confidential
8    – Source Code,” may be viewed by an Expert who does not fit within the aforementioned description
9    in Sections 7.3-7.5. The purpose for Plaintiffs’ addition is to avoid a preemptive and categorical
10   preclusion of disclosure to certain Experts based on their past, current, or future employment where,
11   for example, such Expert was employed by a Party or competitor for a short period of time or in a non-
12   competitive department and poses no threat of business harm to Meta. Plaintiffs’ proposal addresses
13   Meta’s concern regarding unfettered dissemination of confidential material as Plaintiffs must still
14   obtain an order from the Court allowing for disclosure of confidential information to certain Experts,
15   while also providing a reasonable alternative to an unfair categorical preclusion of disclosure to certain
16   Experts.
17          Definition of “Source Code”
18          Plaintiffs propose that the definition of Source Code follow the model order such that it is
19   defined as “extremely sensitive” computer code. Good cause does not exist to depart from the model
20   order to describe source code as “Confidential, proprietary, or trade secret computer code . . .” instead
21   of “extremely sensitive . . . computer code” as Meta proposes. Indeed, Meta’s proposed definition of
22   source code creates substantial risk of over-designation of source code as Highly Confidential-Source
23   Code, making such material unnecessarily subject to the onerous source code review procedures. Over-
24   designation will occur because the terms “confidential, proprietary, or trade secret” cover more than
25   what is encompassed by the term “extremely sensitive.” Such an outcome will only serve to prejudice
26   and increase costs for Plaintiffs.
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1           Through this departure from the model order, Meta would give itself an opening to dramatically
2    increase discovery burdens on Plaintiffs and their experts. Plaintiffs also note that protective orders for
3    source code review are far more important for cases involving business competitors, where one party’s
4    access to another’s source code could lead to unfair business conduct by one of the parties. Here,
5    Plaintiffs are not in competition with the Defendant. The only risk to any source code is through
6    unintentional leakage, but other portions of the Protective Order adequately address this risk by
7    requiring Plaintiffs to treat confidential information with great care.
8           Meta’s Limitations on Source Code Printing
9           Meta proposed the following limitations to the access, review, and printing of Source Code:
10          (1) A party may print no more than 20 consecutive pages or an aggregate of 200 pages of Source
11   Code “without prior written approval of the producing party, which will not be unreasonably withheld.”
12          (2) Any excerpts of Source Code to be included with a pleading, court filing, expert report, trial
13   exhibit, demonstrative, deposition exhibit/transcript, mediation brief, or draft of these documents must
14   not comprise more than 25 consecutive lines of Source Code.
15          With respect to Meta’s first limitation, Plaintiffs do not believe that good cause exists to depart
16   from the model order to impose a numerical limit on the number of pages of source code the Receiving
17   Party may request. Meta proposes the following limit: “In no case will the Receiving Party receive
18   more than 20 consecutive pages or an aggregate of more than 200 pages of Source Code during the
19   duration of the case without prior written approval of the Producing Party . . . .” Meta’s proposed
20   limitation creates substantial risk of prejudice to Plaintiffs particularly where, as here, no discovery has
21   been produced and Plaintiffs do not yet know how much source code will be produced in this litigation.
22   Instead, Plaintiffs believe the following language provided in the model order is appropriate and fair:
23   “The Producing Party may challenge the amount of source code requested in hard copy form pursuant
24   to the dispute resolution procedure and timeframes set forth in Paragraph 6 whereby the Producing
25   Party is the ‘Challenging Party’ and the Receiving Party is the ‘Designating Party’ for purposes of
26   dispute resolution.” This allows Meta to challenge requests if they become overly burdensome and
27   does not force Plaintiffs to agree to arbitrary numerical limits in a vacuum.
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1            Finally, Plaintiffs do not accept Meta’s second limitation, which proposes to limit the number
2    of consecutive lines of Source Code that can be included in a filing to 25, for the same reasons set forth
3    in the preceding paragraph.
4           Plaintiffs’ Reasonable Proposal re Electronic Note-Taking During Source Code Review
5           To increase efficiency and decrease costs, Plaintiffs propose that, during Source Code review,
6    the Receiving Party’s experts/consultants may take notes electronically on a separate note-taking
7    computer in the Source Code review room and, at the end of the day, such expert/consultant would
8    transfer their electronic notes via a USB drive. To address Meta’s concern regarding improper
9    dissemination of Source Code, Plaintiffs proposed that the separate note-taking computer would be
10   fully locked down, with the exception of the USB drive, and that the USB drive would be disabled
11   during the Source Code review by way of a USB port blocker, which can only be removed with a key
12   that the Producing Party will maintain control of.
13          Meta proposes that an individual reviewing Source Code on a computer formatted for such
14   review only be able to take handwritten notes. However, Meta notes in this Case Management
15   Statement that it anticipates this case will involve a substantial volume of discovery. Such limitation,
16   therefore, will surely prolong source code reviews and increase costs. Plaintiffs’ proposal provides for
17   both a secure and efficient way to take notes during Source Code review.
18          Leaked Materials in the Public Domain
19          Information in the public domain is not entitled to special protection. To further clarify this
20   principle, Plaintiffs propose to add the following language noting that the protections afforded by the
21   protective order do “not apply to documents or information of another Party that are leaked without
22   permission or otherwise disseminated without appropriate authorization to the public at large or
23   published by a media organization.”
24          Meta, on the other hand, proposes that special protection will be afforded to information that is
25   in the public domain as a result of publication involving a violation of this Order, another Court’s Order,
26   unlawful conduct, or a breach of any confidentiality obligation otherwise owed to the Designating
27   Party.” This is where the dispute between the Parties lies. Meta’s proposal would include information
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1    disseminated to the public at large or published by a media organization. Plaintiffs do not understand
2    why or how Meta would propose to ex post facto place a confidentiality designation on a document
3    that has already been published for all the world to see. By nature of such publication, any such
4    document is, by definition, no longer confidential. For example, see “Whistle-Blower Says Facebook
5    Chooses ‘Profits Over Safety,” a New York Times article describing documents leaked for Facebook
6    whistleblower Frances Haugen at others, available at
7    https://www.nytimes.com/2021/10/03/technology/whistle-blower-facebook-frances-haugen.html. If a
8    whistleblower releases what were otherwise confidential documents to the New York Times or the
9    United States Congress through no doing of the Plaintiffs or their counsel here – and those documents
10   are published to the world, there is no reason to pretend that they are confidential anymore.
11          Production of Source Code Paper Logs
12          Departing from the model order, Meta unreasonably proposes that a Receiving Party must, at
13   the Producing Party’s request and within two business days, produce a copy of its log of all paper
14   copies of the Source Code. Such proposal is burdensome and unnecessarily departs from the model
15   order. However, Plaintiffs have offered a reasonable middle ground, agreeing that the only reviewers
16   and recipients of paper copies of Source Code will be approved experts and appointed counsel.
17          Unresolved Additional Issues
18          Although the Parties are continuing meet and confer efforts and Plaintiffs believe the remaining
19   issues can be resolved between the Parties, Plaintiffs note their position as to those remaining issues:
20          It is Plaintiffs’ position that a Designating Party must designate for protection only those parts
21   of material that qualify for protection. Meta seeks to qualify the requirement with an exception that
22   such restraint in designating material for protection is only required if it is not burdensome to the
23   Designating Party. During a recent meet and confer with Meta, Plaintiffs expressed their concern with
24   Meta’s proposed qualification, noting that it could unfairly allow a Designating Party to claim this
25   requirement is burdensome under any circumstance. Plaintiffs asked Meta for clarification, asking for
26   an example under which such requirement would be burdensome. Meta noted that certain review
27   platforms might not allow for designation of only portions of a document. To address Meta’s concern,
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1    Plaintiffs proposed the following language, which Meta rejected: “To the extent it is impractical to do
2    so (for example where the platform on which the material, documents, items, or oral or written
3    communications are being reviewed does not allow for designation of only those parts that qualify),
4    the Designating Party shall identify the specific portions of the material that qualify for protection on
5    a separate document to the Receiving Party within 7 days of production.” Requiring Plaintiffs to be the
6    ones to seek more specific confidentiality designations once they anticipate the need to use the
7    document for a filing is unfair, inefficient, and goes against the spirit of a protective order: providing
8    protection only for information that is confidential.
9           It is also Plaintiffs’ position that Source Code will be produced in original and native format,
10   and in a format where versions of the Source Code may be extracted. Meta seeks to qualify the
11   requirement with an exception: that this is only required if it is practical and not burdensome. Plaintiffs
12   concern with Meta’s proposed qualification is that it could unfairly allow a Designating Party to claim
13   this requirement is impractical and burdensome under any circumstance, and that such hedging
14   language only serves to create confusion.
15   Meta’s position:
16          Under the Northern District of California’s Model Stipulated Protective Order for Litigation
17   Involving Patents, Highly Sensitive Confidential Information and/or Trade Secrets (the “Model
18   Order”) protection is warranted for all “confidential, proprietary, trade secret, or private information”
19   disclosed in this litigation. Model Order Sec. 1. The purpose of a protective order is to provide “special
20   protection from public disclosure and from use for any purpose other than prosecuting this litigation.”
21   Id. It is likely that portions of Meta’s highly confidential, proprietary, and trade secret Source Code
22   will be disclosed in discovery. Any dissemination of this Source Code would create substantial risk of
23   serious harm to Meta.
24          Plaintiffs agree with the general principles set out in the Model Order, but have proposed
25   revisions that lessen the protections for Meta’s Source Code. On February 10, 2023, Meta provided
26   Plaintiffs with its revised draft of the protective order. The parties met and conferred on February 17,
27   2023, after which Meta received Plaintiffs’ revisions to the protective order on February 18, 2023. The
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1    parties met and conferred on February 22 and 23, 2023, during which the protective order was
2    discussed. The parties again met and conferred on February 28, 2023 and March 1, 2023. On March
3    2, 2023, Meta provided Plaintiffs with a revised version of the protective order. Meta continued to
4    investigate open issues and, after further review of a technical question, was able to incorporate an
5    open request from Plaintiffs. On March 4, 2023, Meta provided Plaintiffs with a revised version of the
6    protective order with this revision incorporated. On March 6, 2023, the parties met and conferred, after
7    which Plaintiffs sent a revised version of the protective order.
8           Although the parties have made progress in negotiating the protective order, and it is Meta’s
9    position that many of the remaining issues can likely be resolved through additional discussions, Meta
10   raises six issues with the Court: (1) the definition of “Expert”; (2) the definition of “Source Code”; (3)
11   reasonable limitations on printing Meta’s proprietary Source Code; (4) confidentiality designations for
12   leaked documents; (5) production of a Source Code viewing log; and (6) unresolved additional issues.
13   For the Court’s reference, attached hereto are the following exhibits: Exhibit D (Meta’s draft Protective
14   Order), Exhibit E (A redline of Meta’s draft Protective Order compared to Plaintiffs’ draft Protective
15   Order), and Exhibit F (A redline of Meta’s draft Protective Order compared to the Northern District of
16   California’s Model Protective Order).
17          (1) Definition of Expert
18          The parties spent significant time negotiating the definition of Expert. Despite Plaintiffs’
19   insistence on departing from the Model Order, Meta continued to work with Plaintiffs to define Experts
20   in a manner that satisfied Plaintiffs and protected access to Meta’s confidential materials, including
21   Highly Confidential Materials and Source Code.
22          Plaintiffs’ proposed language in sections 7.3, 7.4, and 7.5 is unnecessary and redundant, and
23   their explanation for the language raises serious concerns about future attempts to subvert the
24   unobjectionable restrictions regarding Experts’ access to confidential information provided by the
25   Model Order. The introductions to the sections in which Plaintiffs have added their proposed language,
26   Sections 7.3, 7.4, and 7.5, expressly provide: “Unless otherwise ordered by the Court . . . a Receiving
27   Party may disclose” the materials only to the enumerated categories of individuals relevant to each
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1    section. Plaintiffs’ addition of “whether in response to a motion by the Receiving Party, which motion
2    the Receiving Party is permitted to make, or otherwise,” is superfluous and should be rejected.
3    Plaintiffs stated goal is to provide themselves an “out” from the standard language in the Model Order
4    restricting a party’s competitors from having access to the party’s confidential information and no such
5    out should be condoned or granted.
6           (2) Definition of “Source Code”
7           Meta proposed a definition of Source Code that is in line with language used in the Model Order
8    that is appropriate for this case.     See Model Order Sec. 2.9.         Meta defines Source Code as:
9    “Confidential, proprietary, or trade secret computer code and associated comments, revision histories,
10   formulas, engineering specifications, or schematics that define or otherwise describe in detail the
11   algorithms, computer code, or structure of software or hardware designs, disclosure of which to another
12   Party or Non-Party would create a substantial risk of serious harm that could not be avoided by less
13   restrictive means.”
14          Plaintiffs largely agree with this definition, but seek to limit Source Code to “extremely
15   sensitive computer code.” Meta rejected Plaintiffs’ addition of the qualifier “extremely sensitive,”
16   because, although such language also appears in the Model Order, it is a vague term and the portion of
17   the definition that both parties already agree to (“create a substantial risk of serious harm that could not
18   be avoided by less restrictive means”) appropriately describes the sensitive nature of source code.
19   However, in an effort to bridge the gap, Meta counter-proposed the addition of the following language
20   to describe the type of source code that will be governed by this protective order: “confidential,
21   proprietary, or trade secret computer code.”
22          Meta has offered a reasonable proposal to appropriately identify the Source Code subject to this
23   protective order and protect its confidential data.
24          (3) Reasonable Limitations Should be Placed on Source Code Printing
25          As previously stated, Meta seeks protection for its Source Code, the potential dissemination of
26   which creates substantial risk of serious harm to Meta. Meta understands, however, that if portions of
27   the Source Code are responsive to issues in the litigation, the Source Code may need to be accessed,
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1    viewed, and/or printed in hard copy. As such, the parties agreed to various procedures to accomplish
2    such tasks.
3           In connection with those agreed-upon procedures, Meta has proposed reasonable limitations
4    concerning the printing of Source Code, as well as mechanisms to seek increases to such limitations as
5    needed. Plaintiffs have wholesale rejected Meta’s multiple proposals, declining to counter-propose
6    any limitations on printing despite Meta’s repeated requests.
7           Meta proposed the following reasonable limitations on printing Source Code:
8           (1) A party may print no more than 20 consecutive pages or an aggregate of 200 pages of Source
9    Code “without prior written approval of the producing party, which will not be unreasonably withheld.”
10          (2) Any excerpts of Source Code to be included with a pleading, court filing, expert report, trial
11   exhibit, demonstrative, deposition exhibit/transcript, mediation brief, or draft of these documents must
12   not comprise more than 25 consecutive lines of Source Code.
13          Plaintiffs rejected all of these limitations, stating that they cannot know at this stage how much
14   Source Code will be needed and therefore cannot agree to any printing limitations. This argument,
15   however, ignores the specific mechanisms provided by Meta to increase limits as needed throughout
16   the course of the litigation. Even though specific limits are not included in the Model Order, reasonable
17   limitations on printing Source Code are granted by Courts in the Northern District and Southern District
18   of California. See, e.g., Taction Tech., Inc. v. Apple Inc., 2021 WL 4150342, at *8 (S.D. Cal. Sept. 13,
19   2021) (granting a protective order that limited aggregate printed pages to 250 and required a meet and
20   confer for any printing of contiguous blocks of code over 10 pages); FastVDO LLC v. AT&T Mobility
21   LLC, 2016 WL 9049521, at *9 (S.D. Cal. July 25, 2016) (granting a protective order in which a
22   presumption that more than 30 printed pages of a continuous block of source code was excessive);
23   Linex Tech. Inc. v. Hewlett Packard Co., 2013 WL 1820909, at *2 (N.D. Cal. Apr. 30, 2013) (rejecting
24   a requested increase to an existing protective order limit of five copies of printed source code).
25          Similarly, in order to protect its Source Code, Meta proposes that an individual reviewing
26   Source Code on a computer formatted for such review only be able to take handwritten notes. Plaintiffs
27   requested a second computer on which they could take electronic notes which they would then transfer
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1    via USB drive. Meta continues to explore the possibility of such an arrangement, but has not yet been
2    able to identify a solution that is not costly and burdensome. For example, Plaintiffs seek to take
3    electronic notes and then download them onto a USB drive at the end of the day. The problem,
4    however, is that allowing a second computer in the same room with the Source Code presents a risk
5    that Source Code could be disseminated. To protect against this risk, the second computer would need
6    to be fully locked down (including disabling all USB ports), and thus there would be no way to
7    download the electronic notes at the end of each day. Although Meta is seeking to accommodate
8    Plaintiffs, it is Meta’s position that handwritten notes are sufficient in this circumstance.
9           Meta’s proposal for reasonable limits to Source Code printing, including specific mechanisms
10   that allow for the Receiving Party to exceed those limits as needed, is tailored to the needs of discovery
11   while limiting the substantial risk of harm to Meta if its Source Code were disseminated.
12          (4) Confidentiality Designations for Leaked Documents
13          Section 3 of the protective order, which has been agreed to by the parties, states that the
14   protective order does not confer protections on “any information that is in the public domain . . . as a
15   result of publication not involving a violation of this Order, another Court’s Order, unlawful conduct,
16   or a breach of any confidentiality obligation otherwise owed to the Designating Party.” (Emphasis
17   added). In other words, information that is in the public domain as a result of publication involving a
18   violation of this Order, another Court’s Order, unlawful conduct, or a breach of any confidentiality
19   obligation otherwise owed to the Designating Party is still subject to protection. Meta further proposed
20   a process, which Plaintiffs have agreed to, whereby a party will have the opportunity to review a leaked
21   document to determine whether a confidentiality designation is appropriate in accordance with the
22   terms of the protective order.
23          Plaintiffs, however, proposed additional edits to Section 3 that contradict this purpose:
24   “Notwithstanding the foregoing, this section does not apply to documents or information of another
25   Party that are leaked without permission or otherwise disseminated without appropriate authorization
26   to the public at large or published by a media organization.” Pursuant to this proposal, Plaintiffs would
27   be able to use a leaked document for virtually any purpose without providing Meta the opportunity to
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1    review the document and determine whether it should be designated as confidential pursuant to the
2    protective order. Plaintiffs seek to capitalize on the unlawful conduct of others without affording a
3    party even the opportunity to assert confidentiality over materials that were unlawfully leaked to the
4    public. Such a provision condones unlawful conduct and should be rejected.
5           It is Meta’s position that potentially confidential documents do not lose their confidential status
6    pursuant to a protective order because they have been improperly leaked and/or published in violation
7    of law, a court order, or other obligation, and, therefore, Plaintiffs’ proposal should be rejected.
8           (5) The Log of Paper Copies of the Source Code Should Be Produced Upon Request
9           In accordance with Section 9(c) of the Model Order, Meta proposed: “The Receiving Party
10   shall maintain a log of all paper copies of the Source Code. The log must include the names of all
11   reviewers and recipients of paper copies, dates and times of inspection, and locations where each paper
12   copy is stored.” Meta further proposed that the Receiving Party, upon two days’ advance written notice,
13   shall provide a copy of the log to the Producing Party. See, e.g., Taction Tech., 2021 WL 4150342, at
14   *8 (granting a protective order that required the production of the log with one day’s advance notice).
15          Although Plaintiffs agreed to the creation and maintenance of a log in accordance with Meta’s
16   proposal and the Model Order, Plaintiffs rejected any requirement to produce the log upon request,
17   stating that the Model Order does not require it. Plaintiffs further raised privilege concerns associated
18   with the log. Instead, Plaintiffs propose to agree that the only reviewers and recipients of paper copies
19   of Source Code will be approved Experts and appointed counsel.
20          Plaintiffs’ proposal, however, is not sufficient to protect Meta’s confidential, proprietary, and
21   trade secret Source Code. A provision that requires that a log be maintained is an empty shell if the
22   party requiring the log for protection of its Source Code cannot confirm the log’s existence or review
23   its contents if needed. Further, the proposal that the only reviewers of the Source Code would be
24   approved Experts and counsel merely restates other requirements of the protective order. Privilege
25   concerns are similarly misplaced because the stated contents of the log merely identify names, dates,
26   times, and locations that does not reveal any privileged information or work product.
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1             It is Meta’s position that this proposal is necessary to confirm the protections in place to guard
2    against the dissemination of its Source Code.
3             (6) Unresolved Additional Issues
4             Although Meta believes that many of these issues can be resolved through further discussion
5    among the parties, it is Meta’s understanding the Plaintiffs are asking the Court to enter their version
6    of the Protective Order in full. As such, Meta provides the following summary of its position on the
7    remaining issue in dispute. These edits can be seen in the redline that accompanies this statement:
8             (1) It is Meta’s position that, due to the practicalities of reviewing documents on review
9    platforms, it may be impractical and/or burdensome to designate only portions of a document as
10   confidential. To address concerns with the potential for document-level designation hindering the use
11   of documents in filings, Meta proposes a process whereby a party can seek more specific confidentiality
12   designations, if appropriate, prior to including a document in a public filing.
13      5. CLAWBACK ORDER
14   Plaintiffs’ position:
15            On December 9, 2022, Meta sent Plaintiffs a proposed clawback order for use in this litigation.
16   Over the next several weeks, the Parties engaged in numerous discussions regarding the propriety of a
17   clawback order in this action. On February 22, 2023, once such discussions were settled, Plaintiffs sent
18   Meta their revisions to the proposed clawback order. While the Parties have agreed to the use of a
19   clawback order, they are at an impasse as to one issue that is ripe for the Court’s determination: whether
20   the Parties can use the content of a document clawed back as privileged to challenge the privilege
21   assertion. For the Court’s reference, attached hereto as Exhibit M is Plaintiffs’ proposed Clawback
22   Order.
23            Plaintiffs propose that a Party may use the content of a document clawed back as privileged to
24   challenge the privilege assertion. Under Plaintiffs’ proposal, a Party may not use the content for any
25   other purpose but to challenge the claw back, and any such challenge would be filed under seal.
26   Additionally, if there are some portions of the document that the parties agree are privileged, and other
27   portions that the parties do not agree are privileged, the in camera submission would redact the portions
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1    that the parties agree are privileged.
2           Rule 26 of the Federal Rules of Civil Procedure contemplates a party’s ability to use the content
3    of a document “clawed-back” on the basis of privilege to challenge the producing party’s privilege
4    assertion. More specifically, Rule 26 provides as follows:
5           If information produced in discovery is subject to a claim of privilege or of protection
            as trial-preparation material, the party making the claim may notify any party that
6           received the information of the claim and the basis for it. After being notified, a party
            must promptly return, sequester, or destroy the specified information and any copies it
7           has; must not use or disclose the information until the claim is resolved; must take
            reasonable steps to retrieve the information if the party disclosed it before being
8           notified; and may promptly present the information to the court under seal for a
            determination of the claim. The producing party must preserve the information until the
9           claim is resolved.
10   (emphasis added). And, as one District Court has observed: “It would be wholly illogical to read Rule
11   26(b)(5)(B) as prohibiting the use of documents ‘subject to a claim of privilege’ when resolving that
12   very claim of privilege.” U.S. Home Corp. v. Settlers Crossing, LLC, DKC 08-1863, 2012 WL
13   5193835, at *5 (D. Md. Oct. 18, 2012). Indeed, privilege claims are almost always content-specific. To
14   determine whether a privilege exists, or whether it has been lost through disclosure, circumstance,
15   conduct or other action by the party seeking to claw it back, a court generally must look to the
16   information’s content, how and to whom that information has been communicated, and whether the
17   information or its content has been disclosed elsewhere or carelessly, among other factors.
18         Additionally, one of the purposes of Rule 502(d) is to avoid the need for “exhaustive pre-
19   production privilege reviews” by allowing parties to claw back privileged materials after production
20   without waiving privilege. See Fed. R. Evid. 502, Addendum to Advisory Committee Notes, Statement
21   of Congressional Intent Regarding Rule 502 of the Federal Rules of Evidence, Subdivision (d)—Court
22   orders. Plaintiffs’ proposal does not upend such purpose--a party is still able to claw-back a privileged
23   document and there is still not an automatic waiver for inadvertent production of privileged material.
24   Plaintiffs’ proposal simply allows a party to reference the content if there is a good faith dispute as to
25   whether the document is privileged.
26   Meta’s position:
27          On December 9, 2022, Meta sent Plaintiffs a draft clawback order pursuant to Federal Rule of
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1    Evidence 502(d) (the “502(d) Order”). On February 22, 2023, Plaintiffs sent Meta their proposed
2    revisions to the 502(d) Order. After discussing the draft 502(d) Order during the meet and confers on
3    February 23, 28, and March 1, 2023, Meta sent Plaintiffs a redline of its revised draft on March 2, 2023.
4    Meta sent Plaintiffs a further revised draft on March 4, 2023, that re-inserted agreed-upon language
5    that had been inadvertently omitted in the prior draft. On March 6, 2023, the parties met and conferred
6    and identified the one remaining issue for which the parties are at an impasse.
7           Through negotiations, the parties have agreed to a 502(d) Order with the exception of one issue:
8    (1) the ability to use clawed back information in arguments challenging the clawback. For the Court’s
9    reference, attached hereto are the following exhibits: Exhibit G (Meta’s draft 502(d) Order) and Exhibit
10   H (a redline of Meta’s draft 502(d) Order compared to the Plaintiffs’ draft 502(d) Order).
11          The purpose of Rule 502 as described by the Court in In re Google RTB Consumer Priv. Litig.,
12   2022 WL 1316586, at *3 (N.D. Cal. May 3, 2022) (DeMarchi, J.), is “‘to allow the parties to conduct
13   and respond to discovery expeditiously, without the need for exhaustive pre-production privilege
14   reviews, while still preserving each party’s right to assert the privilege to preclude use in litigation of
15   information disclosed in such discovery.’” (quoting Fed. R. Evid. 502, Addendum to Advisory
16   Committee Notes, Statement of Congressional Intent Regarding Rule 502 of the Federal Rules of
17   Evidence, Subdivision (d)).
18          (1) The substance of clawed-back documents should not be used to challenge clawback
19   designations
20          In accordance with the purpose of Rule 502 to allow parties to engage in efficient document
21   production without the fear of unintended consequences connected to inadvertent production of
22   privileged material, Meta proposed that: “The receiving party must not use or disclose the Protected
23   Document(s) covered by the Clawback Notice during the time in which the receiving party is
24   challenging the Protected Document(s).”
25          Plaintiffs rejected this language and proposed the following language allowing them to use the
26   clawed back information in briefing and argument challenging a clawback: “If the party challenging
27   the clawback has a good faith belief that the entire document or key portions of the document are not
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1    privileged, the challenging party may use those portions of the document for which it has a good faith
2    belief are not privileged solely in briefing or argument submitted in connection with any challenge to
3    a Clawback Notice and by providing the document to the Court for in camera review (with any portions
4    of the document that the parties agree are privileged redacted). In the case of such a challenge and use
5    of contents of the underlying document, the challenging party agrees not to argue that such use
6    constitutes waiver of the claimed privilege or work product protection. In no case shall a challenge to
7    a Clawback Notice be filed in the public record.” Plaintiffs, citing Rule 26 of the Federal Rules of
8    Civil Procedure and U.S. Home Corp. v. Settlers Crossing, LLC, 2012 WL 5193835, at *5 (D. Md. Oct.
9    18, 2012), argue that Rule 26 “contemplates” a party’s ability to use the content of a clawed back
10   document. Plaintiffs further argue that privilege claims are “almost always content-specific” and
11   therefore a court must generally look at a document’s contents.
12          Case law from this district, however, confirms Meta’s position that information from clawed
13   back documents should not be used to challenge the clawback. See In re Google RTB Consumer Priv.
14   Litig., 2022 WL 1316586, at *1 (DeMarchi, J.).8 In In re Google RTB Consumer Priv. Litig., the court
15   held: “If, as plaintiffs suggest, a receiving party were permitted to examine and brief the contents of
16   any putatively privileged document subject to a clawback notice,” Rule 502(d)’s purpose of avoiding
17   the need for “exhausting pre-production privilege reviews” would be frustrated and would likely fail
18   to “achieve the objectives Congress envisioned.” See id. at *3. Further, as agreed to in the 502(d)
19   Order, any clawed back document will be logged on a privilege log, the information from which can
20   be used to challenge the clawback in the same manner as any other challenge to a privilege designation.
21          It is Meta’s position that its proposed language in the 502(d) Order concerning the use of clawed
22   back information complies with the Rule’s purpose as recognized by courts in this district.
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26     Notably, the plaintiffs in In re Google RTB Consumer Priv. Litig. cited the same 2012 case from the
     District of Maryland that the Plaintiffs cite here—U.S. Home Corp.—to support a similar position. In
27   response, the court in In re Google held that “the abbreviated discussion of the issue [in U.S. Home
     Corp. was] not persuasive.” See 2022 WL 1316586, at *1 (holding that a party could not review
28   documents subject to a clawback notice).
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1       6. RELATED CASES
2           Ten cases have already been related by order of this Court: (1) John Doe v. Meta Platforms,
3    Inc., Case No. 3:22-cv-03580 (N.D. Cal. June 17, 2022); (2) Jane Doe v. Meta Platforms, Inc. et al.,
4    Case No. 3:22-cv-04293 (N.D. Cal. July 25, 2022); (3) Doe v. Meta Platforms, Inc., Case No. 3:22-cv-
5    04680 (N.D. Cal. Aug. 15, 2022); (4) Jane Doe v. Meta Platforms, Inc., Case No. 3:22-cv-04963 (N.D.
6    Cal. Aug. 30, 2022); (5) Krackenberger v. Northwestern Memorial Hospital, et al., Case No. 3:22-cv-
7    06020 (N.D. Cal. Aug. 10, 2022); (6) Smidga v. Meta Platforms, Inc., et al., Case No. 3:22-cv-05753
8    (N.D. Cal Aug. 25, 2022); (7) Naugle, et al. v. Meta Platforms, Inc., et al., Case No. 3:22-cv-9200
9    (N.D. Cal. Sept. 1, 2022); (8) C.C. v. Meta Platforms, Inc. et. al., Case No. 3:22-cv-09199 (N.D. Cal.
10   Oct. 6, 2022); (9) Doe, et al v. Meta Platforms, Inc., No. 3:22-cv-06665 (N.D. Cal. Oct. 28, 2022); and
11   (10) Smart v. Main Line Health, Case No. 3:23-cv-000528 (N.D. Cal. Dec. 30, 2022).
12          On March 1, 2023, Murphy v. Thomas Jefferson University Hospitals Inc., et al., Case No. 3:23-
13   cv-00899, was referred to this Court for the purposes of determining whether the case is related to this
14   action. On March 5, 2023, Meta filed a statement in support of relating Murphy to this action. ECF
15   No. 188. On February 28, 2023, Stewart v. Advocate Aurora Health, Inc. et al., Case No. 3:23-cv-
16   05964 (N.D. Ill. Oct. 28, 2022) was transferred to the Northern District of California (Case No. 3:23-
17   cv-00900).
18          Claims against Meta in Hartley v. University of Chicago Medical Center, et al., Case No. 1:22-
19   cv-05891 (N.D. Ill. Oct. 25, 2022) have been severed and are in the process of being transferred to this
20   District, at which point Meta intends to file motions to relate those claims to this case so that they may
21   be consolidated with this action. Finally, Meta has filed a motion to sever and transfer the claims
22   against it in Santoro v. Tower Health, Case No. 5:22-cv-04580 (E.D. Pa. Nov. 16, 2022). The motion
23   is pending before the court in Santoro.
24      7. AMENDMENT OF PLEADINGS
25          The parties agree to set a deadline of 30 days following a decision on the motion to dismiss for
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     Plaintiffs to amend their pleadings.
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1       8. OTHER – EXPANSION OF DISCOVERY LIMITS
2           The parties have conferred and agree that it is premature to propose any potential expansion of
3    the discovery limits set forth in the Federal Rules of Civil Procedure.
4           Plaintiffs’ position is that an expansion of the discovery limits in the Federal Rules of Civil
5    Procedure will be appropriate in this litigation. However, given that Meta has not yet produced any
6    discovery, it is premature for the parties to negotiate any specific numerical expansion. Plaintiffs intend
7    to confer with Meta when appropriate, and raise this issue at a later case management conference if
8    necessary.
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                                        By: /s/ Michael G. Rhodes
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1                                  CIVIL L.R. 5-1(h)(3) ATTESTATION
2           Pursuant to Civil Local Rule 5-1(h)(3), I, Lauren Goldman, hereby attest under penalty of
3    perjury that concurrence in the filing of this document has been obtained from all signatories.
4

5    Dated: March 7, 2023                         By:      /s/ Lauren Goldman
                                                           Lauren Goldman
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